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                   UNITED STATES DISTRICT COURT
              FOR THE EASTERN DISTRICT OF MICHIGAN


 UNITED STATES OF AMERICA,
                                                             Case No. 05-80955-2

                                                             HON. AVERN COHN
 -vs-

 DEMETRIUS EDWARD FLENORY,

                Defendant.
 ____________________________________/

                                  STIPULATION

        On September 12, 2008, Defendant Demetrius Edward Flenory was sentenced

 to 360 months in custody based on his convictions under 21 U.S.C. § 848 (continuing

 criminal enterprise), as charged in Count Two of the indictment and 240 months

 based on his conviction under 18 U.S.C. § 1956 (conspiracy to launder monetary

 instruments), as charged in Count Ten of the indictment. Defendant’s adjusted

 offense level at the time of the original sentencing was 42 and the resulting guideline

 ranges were 360 months to life on Count Two and 240 month on Count Ten, based

 on a criminal history category II.

        The parties stipulate that Defendant meets the criteria under United States

 Sentencing Guidelines Amendments 782 and 790, the recent retroactive amendments

 to the sentencing guidelines for drug cases. Thus, Defendant’s amended guideline
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 range is based on a level 40, which results in a guideline range of 324 months to 405

 months in custody for Count Two (drug count), which carries a 240 month mandatory

 minimum penalty, and 240 months’ imprisonment on Count Ten, (money laundering

 count).

       The parties stipulate that this Court may, in its discretion, reduce Defendant’s

 sentence pursuant to 18 U.S.C. ' 3582(c)(2). If the Court exercises its discretion

 and reduces Defendant’s sentence, it may result in a total sentence as low as: 324

 months, which would reflect the bottom of the amended guideline range.




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